                            Hearing Date and Time: April 4, 2022, at 10 :00 a.m. (prevailing Eastern Time)
                              Objection Deadline: March 28, 2022, at 4:00 p.m. (prevailing Eastern Time)

Amiad Kushner
Jake Nachmani
SEIDEN LAW GROUP LLP
322 Eighth Avenue, Suite 1704
New York, NY 10001
Telephone: (646) 766-1914

Attorneys for Lior Dagan as Foreign Representative of
Michael David Greenfield (a.k.a. Michael Ben-Ari)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                              Chapter 15

 MICHAEL DAVID GREENFIELD                            Case No. 21-11411 (SCC)
 a.k.a. MICHAEL BEN-ARI

          Debtor in a Foreign Proceeding.



 NOTICE OF MOTION OF LIOR DAGAN, THE FOREIGN REPRESENTATIVE, FOR
  ENTRY OF AN ORDER AFFIRMING HIS AUTHORITY TO REALIZE AND TAKE
CONTROL OF CERTAIN IDENTIFIED ASSETS OF THE DEBTOR AND ASSETS OF
THE DEBTOR THAT MAY BE IDENTIFIED IN THE FUTURE WITHIN THE UNITED
           STATES AND REPATRIATE THOSE ASSETS TO ISRAEL

          PLEASE TAKE NOTICE that Lior Dagan, in his capacity as the authorized foreign

representative (“Foreign Representative”) of the above-captioned debtor (“Debtor”), filed the

Foreign Representative’s Motion for Entry of an Order Authorizing the Repatriation of Assets to

Israel (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be in

writing, conform to the Federal Rules of Bankruptcy Procedure and the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the Southern District of New

York, be filed by March 28, 2022 at 4:00 p.m. (Prevailing Eastern Time), and shall be served

on counsel to the Foreign Representative, Seiden Law Group LLP, 322 Eighth Avenue, Suite 1704,

New York, NY 10001, Attn: Amiad Kushner, Esq., Jake Nachmani, Esq., and Dov B. Gold, Esq.
Additionally, a courtesy copy shall be delivered to the chambers of the Honorable Shelley C.

Chapman.

        PLEASE TAKE FURTHER NOTICE THAT a hearing to consider such Motion and

any objections related thereto (the “Hearing”) will be held on April 4, 2022, at 10:00 a.m.

(Prevailing Eastern Time) before the Honorable Shelley C. Chapman, United States Bankruptcy

Judge, United States Bankruptcy Court for the Southern District of New York, One Bowling

Green, New York, NY 10004.

        PLEASE TAKE FURTHER NOTICE that in accordance with General Order M-543,

dated March 20, 2020 (“General Order M-543”),1 the Hearing will be conducted telephonically.

Any parties wishing to participate must do so telephonically by making arrangements through

CourtSolutions LLC (www.court-solutions.com). Instructions to register for CourtSolutions LLC

are attached to General Order M-543.

        PLEASE TAKE FURTHER NOTICE THAT if no objections are timely filed and

served with respect to the Motion, the Foreign Representative may, on or after the objection

deadline set forth herein, submit to the Court an order substantially in the form of the proposed

order annexed to the Motion, which order may be entered without further notice or opportunity to

be heard.

                             [remainder of page intentionally left blank]




1
 A copy of the General Order M-543 may be obtained by visiting www.nysb.uscourts.gov/news/general-order-m-
543-court-operations-under-exigent-circumstances-created-covid-19.




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Dated: March 9, 2022
       New York, New York

                                SEIDEN LAW GROUP LLP

                                /s/ Amiad Kushner
                                Amiad Kushner
                                Jake Nachmani
                                akushner@seidenlawgroup.com
                                jnachmani@seidenlawgroup.com
                                322 Eighth Avenue, Suite 1704
                                New York, NY 10001
                                Telephone: (646) 766-1914

                                Attorneys for Lior Dagan as Foreign
                                Representative of Michael David
                                Greenfield (a.k.a. Michael Ben-Ari)




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